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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

 

EL DORADO DIVISION
LENORA NEWSOME PLAINTIFF
VS. CASE NO.
WALGREEN CoO. DEFENDANT
COMPLAINT
Introduction

This is a civil rights action brought pursuant to 42 U.S.C.S. § 2000 et seq. (Title VII of the
Civil Rights Act of 1964, as amended), 42 U.S.C.S. § 1981 (as amended by the Civil Rights Act
of 1991, which is codified at 28 U.S.C.S. § 1658), 42 U.S.C.S. § 12101 (American with Disabilities
Act), and the Age Discrimination in Employment Act (ADEA), which is codified at 29 US.CS.
§§ 621-634 in order to recover damages against the defendant for the unlawful employment
practices that the plaintiff Lenora Newsome, has been subjected to on account of her race, age,
sex, and disability. This is also an action for declaratory judgment pursuant to 28 U.S.C.S. § 2201
to declare the rights and other legal relations between the parties. The plaintiff is also seeking
equitable relief and injunctive relief as well.

1.
Jurisdiction

1. Jurisdiction and venue of this Court are invoked pursuant to 28 U.S.C. §§ 1331,
1343, 1391, 42 U.S.CS. § 1981 (as amended by the Civil Rights Act of 1991, which is codified

at 28 U.S.C.S. § 1658)

 
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2. The unlawful employment practices alleged to have been committed against the

plaintiff, were committed in the State of Arkansas, and in Ouachita County, Arkansas.

I.
Parties
3. The plaintiff, Lenora Newsom, is an African American female, and is a resident of
the United States of America.
4. The Defendant Walgreen Co., is a foreign for-profit corporation, and is licensed to

do business in the State of Arkansas Operating as a retail store selling pharmaceuticals and other
retail items in the state.

OG The defendant Walgreen Co. (hereinafter referred to as Walgreen) is an employer
within the meaning of 42 U.S.C.S. § 2000e (b), (g), and (h).

6. The Agent for Service of Process is The Prentice-Hall Corporation System,
Arkansas, 300 Spring Building, Suite 900, 300 S. Spring Street, Little Rock, Arkansas #220].

Ul.
Facts

7. The plaintiff is a licensed pharmacist having received her license in 1980 in the
State of Texas. The plaintiff eventually moved back to Arkansas, and obtained her pharmacy
license in 1981 in the State of Arkansas.

8. The plaintiff lives in Smackover, Arkansas, and was born on February 26, 1956.

D. The plaintiff went to work for Walgreen in November 2010. The plaintiff was the
only African American pharmacist working for Walgreen in South Arkansas.

10. In July 2014, the plaintiff was transferred to work for the Walgreen Store located

in Camden, Arkansas (Store # 15702), which is an express type Walgreen.

 
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Il. On or about May 29, 2019, the assistant pharmacist was terminated by Tabetha
Beckwith, who was the then district manager.

12. Without having an assistant pharmacist, this made the plaintiff's job duties more
difficult.

13. When the plaintiff was transferred to the Walgreen Store in Camden, Arkansas, she
became the Pharmacy Manager (MGX).

14, On or about June 1, 2019, Bret Weatherford, who is a Caucasian male, became the
District Manager, due to Store # 15702 being placed in District 407.

Ls, Shortly after being placed in District 407, with Bret Weatherford, becoming her
district manager, the plaintiff began to experience acts of disparate treatment on account of her
race, sex, age, and disability.

Le. On the evening of June 19, 2019, Camden, Arkansas experienced a powerful storm
that resulted in most of the city losing power.

16. Ms. Newsome contacted Mr. Weatherford, and told him what was going on, and he
stated that she needed to keep the refrigerated drugs cool per protocol.

7, The plaintiff purchased some large coolers, and bags of ice, and iced down the
drugs in order to keep them cool.

18. Mr. Weatherford contacted the plaintiff later about moving the drugs to El Dorado
Walgreen, and the plaintiff advised that the El Dorado Walgreen Store was some thirty (30) miles
away, and that the store probably did not have the room to store the drugs from the Camden store.

19. Mr. Weatherford did not respond to the plaintiff's concerns.

 
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20. However, at approximately 9:30 p.m., on June 20, 2019, Mr. Weatherford asked
the plaintiff whether she had moved the drugs to the El Dorado Walgreen Store, to which the
plaintiff stated that she had iced down the drugs as previously discussed.

21. This was not acceptable to Mr. Weatherford; he instructed the plaintiff to moved
the drugs to the El Dorado Store. However, the plaintiff advised Mr. Weatherford, that it would
be dangerous for her to move the drugs late a night.

22. Ms. Newsome informed Mr. Weatherford, that it would not be sate, being an
African American to go into a pharmacy after 10:00 p.m., during a blackout, because she did not
want to be mistaken by the police as being a looter, and be shot.

23. Furthermore, Ms. Newsome explained to Mr. Weatherford that the Camden Store
had experienced two attempted break ins, and that it would be dangerous for she and her husband
to attempt to go into a pharmacy, late at night.

24. Mr. Weatherford was annoyed by the plaintiff's pleas to not be put in a dangerous
situation, especially due to her race.

25. The drugs were eventually taken to the El Dorado Store on June 21, 2019, without
any damage to them.

26, The plaintiff and her staff were able to weather the storm, and made it alright.

27. On July 15, 2019, the plaintiff was told that she needed to come to the store for an
8:00 a.m., meeting with Bret Weatherford to take place on July 16, 2019.,

28. When the plaintiff was enroute to the store, Mr. Weatherford sent a text message to
the plaintiff stating that Justin Sharp, who is also a Caucasian male, would be present in the

meeting as well.

 
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29. During the meeting Justin Sharp asked the plaintiff was asked a series of questions
about religion, and sexual orientation, and whether she had those types of discussions while at
work.

30. | Ms. Newsome stated that she did not engage in such things, and denied ever having
those types of discussions in the workplace,

31. After these series of questions, Bret Weatherford then started saying negative things
about the plaintiff's performance.

Bl Mr. Weatherford was asking the plaintiff about knowing how to do “resets,” and
stated that she must do “resets” in order to be a manager at the store.

33. The plaintiff explained to Mr. Weatherford that she suffers from dyslexia, and had
difficulty dealing with cash. Ms. Newsome also mentioned to Mr. Weatherford that she had a
pharmacy tech, who was efficient in dealing with these issues.

34, Mr. Weatherford, also told the plaintiff that she would have to learn “on boarding,”
but that she was on her on in learning this system.

a The plaintiff asked if Mr. Weatherford could provide a mentor to provide the
training for “on boarding,” and he stated “no, you are on your own.”

36. Despite the fact that other managers, who are white, were afforded training by
mentors with the on-boarding system, the plaintiff was not provided this assistance.

37. Mr. Weatherford refused to provide the plaintiff with the necessary assistance or
support in order to allow her to be properly trained.

38. Despite the fact that the “on board” training manual states that the manager will be
placed with another manager who has been trained with “on boarding,” for a two-week period, the

plaintiff was not afforded this training.

 
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39. Throughout the plaintiff tenure while working under Bret Weatherford, he was
constantly looking for things to criticize the plaintiff for.

40. Mr. Weatherford on one occasion sent a team of management officials to the
Camden Store under the guise of cleaning, but it was ruse to again find any defects in the plaintiff s
store in order to get rid of her.

41. There was one occasion when Mr. Weatherford directed the plaintiff to fire her
pharmacy tech, who is an African American female, who had taken some out-of-date Chapstick
out of the trash bin, that was meant to be discarded.

42. The plaintiff expressed to Mr. Weatherford that she did not believe that the
termination was warranted, and that she felt that this African American female was being
mistreated.

43. Again, the firing of this pharmacy tech left the plaintiff's store short staff.

44. The plaintiff had relied on this pharmacy tech (Monisha Jones) to handle the cash
management, and had explained this to Mr. Weatherford.

45. Again, Ms. Newsome explained to Mr. Weatherford that due to her disability, it
would be difficult for her to handle the cash management of the store,

46, Mr. Weatherford hired a friend of his by the name of Austin Lambert, a Causasian
male, sometime in August 2019 to work as the assistant pharmacist in the Camden Store.

47. Upon information and belief, Mr. Lambert was hired in June 2019, after being
terminated from Wal Mart as a pharmacist.

48. Mr. Lambert was brought in to replace the plaintiff.

49, The plaintiff was eventually placed on a Performance Improvement Plan (PIP) on

or about February 26, 2020.

 
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47. The plaintiff was eventually terminated from her place of employment with the
defendant on May 4, 2020.

IV.
Disparate Treatment — Race

49. The plaintiff re-alleges and incorporates by reference each and every allegation
contained in paragraphs | through 48, supra., inclusive as though set forth herein word for word.

50. The plaintiff was subjected to disparate treatment on account of her race in that
similarly situated white employees received more favorable treatment on account of their race than
the plaintiff was afforded.

SI, White employees who were similarly situated as the plaintiff were allowed to work
in an environment that was free from harassment, and close scrutiny.

52. White pharmacists were not treated to the constant scrutiny as the plaintiff was, and
was afforded time to train, that was not extend to the plaintiff.

33. Similarly situated white pharmacist were not placed under a Performance
Improvement Plant (PIP) as the plaintiff was.

54. Also, similarly situated white employees were not subjected to the type of hostility
that the plaintiff was subjected to, on account of her race.

55. The plaintiff was subjected to the above-mentioned acts of disparate treatment all
on account of her race, in violation of Title VII of the Civil Rights Act of 1964 (as amended),
which is codified at 42 U.S.C.S, § 2000¢ et seq..

56. Furthermore, the plaintiff has been subjected to less favorable terms and conditions
of her employment contract with the defendant on account of her race, in violation of 42 U.S.C.S.

§ 1981 (as amended by the Civil Rights Act of 1991, which is codified at 28 U.S.C.S. § 1658),

 
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Vv.
ADA Disability Claim

37. The plaintiff re-alleges and incorporates by reference each and every allegation
contained in paragraphs 1 through 56, supra., inclusive as though set forth herein word for word.

58. The plaintiff constantly advised Mr. Weatherford that she suffers from dyslexia,
and that she was not proficient in dealing with cash management.

59. Furthermore, the plaintiff advised Mr. Weatherford, that due to her disability, she
needed someone to provide hands on training for the “on boarding” that the plaintiff was
required to take.

60. The defendants denied the plaintiffs requests for reasonable accommodations.

61. Furthermore, the defendant did not engage in an interactive process with the
plaintiff, despite the plaintiff requesting a reasonable accommodation for her disability.

62. Although the defendants could have made a reasonable accommodation for the
plaintiff, it did not make a good faith effort to do so.

63. Rather than engaging in the interactive process with the plaintiff to find a
reasonable accommodation, the defendants hired a Caucasian employee to fill the plaintiff's job.
64. Also, rather than engaging in the interactive process with the plaintiff, the
defendant simply placed the plaintiff on a Performance Improvement Plan (PIP), which was not

warranted, and eventually terminated the plaintiff.

VIL
Disparate Treatment — Sex

65. The plaintiff re-alleges and incorporates by reference each and every allegation

contained in paragraphs 1 through 64, supra., inclusive as though set forth herein word for word.
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66. In aruse to terminate the plaintiff, the defendant hired a white male, for the
purpose of replacing the plaintiff.

67. White males who are similarly situated as the plaintiff are afforded more
favorable terms and conditions of their employment with the defendant, in that they are not
scrutinized in the fashion that the plaintiff was, and they are given the support and the assistance
that they need.

68. The plaintiff was subjected to the above-mentioned acts of disparate treatment all
on account of her sex, in violation of Title VII of the Civil Rights Act of 1964 (as amended),
which is codified at 42 U.S.C.S. § 2000¢ et seq..

VII.
Age Discrimination in Employment Act ( ADEA)

69. The plaintiffs re-allege and incorporate by reference each and every allegation
contained in paragraphs | through 68, supra., inclusive as though set forth herein word for word.

70. ‘The plaintiff Lenora Newsome is sixty-five (65) years old.

The The defendant brought in a younger white male, with the goal of forcing the
plaintiff out of her position as Pharmacy Manager.

72. Younger pharmacy managers, are afforded more favorable terms and conditions of
the employment contract than the plaintiff.

73. The plaintiff was subjected to disparate treatment all on account of her age in
violation of the Age Discrimination in Employment Act (ADEA), which is codified at 29 US.CS.

§§ 621-634.
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74. Ultimately, the plaintiff was terminated from her place of employment with the
defendant due to her age, in violation of the Age Discrimination in Employment Act (ADEA),
which is codified at 29 U.S.C.S. §§ 621-634.

VIII.
Procedural Requirement

75. The plaintiff re-alleges and incorporates by reference each and every allegation
contained in paragraphs | through 74, supra., inclusive as though set forth herein word for word.

76. On October 28, 2020, the plaintiff filed a Charge of Discrimination (No. 493-2021-
00222) with the Equal Employment Opportunity Commission (EEOC), contending that she had
been discriminated against in terms and conditions of her employment with the defendant, when
he was subjected to disparate treatment on account of her race, age, sex, and disability in violation
of Title VII of the Civil Rights Act of 1964 (as amended) and in violation of the American with
Disabilities Act (ADA).

77. In response to the plaintiff's Charge of Discrimination that he filed with the EEOC,
said agency issued a “Notice of Right to Sue” letter dated September 20, 2021, which inter alia
gave the plaintiff the right to sue the defendant within 90 days from the date he received the above-
mentioned letter. (A copy of said “Notice of Right to Sue” letter is attached to this complaint
and is identified as Plaintiff's Exhibit “A”).

78. The plaintiff has met the statutory requirement of filing this complaint within ninety
(90) days after receiving the “Right to Sue” letter.

IX.
Damages

79. The plaintiff incorporates by reference the allegations contained in paragraphs 1-

78 of the plaintiff's complaint, and adopts each as if set out herein word for word.

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80. As a direct and proximate cause of the discriminatory practices that the defendants
subjected the plaintiff to on account of her face, age, sex, and disability the plaintiff has suffered
economic loss by way of lost wages in an amount to be proven at the trial of this matter.

81. Furthermore, due to the discriminatory acts of the defendants, the plaintiff has
experienced mental anguish, embarrassment, pain and suffering in an amount to be proven at the
trial of this matter.

82. Furthermore, the defendants’ acts of discriminating against the plaintiff due to her
Tace, sex, age, and disability, were committed with malice or in complete disregards towards the
plaintiff's federally protected rights that an award of punitive damages is warranted.

83. Furthermore, the defendant’s act of discriminating against the plaintiff due to her
age, was done willfully, entitling the plaintiff to an award of liquidated damages.

JURY DEMAND

 

$4. The plaintiff requests that this matter be tried before a fair and impartial jury of
twelve (12) persons.

THEREFORE, the plaintiff is seeking the following relief for the above-described unlawful
employment practices:

a. declare that the plaintiff has been subjected to unlawful discriminatory practices on

account of his race, sex, age, and disability;

b. reinstatement and back pay;

e, compensatory, liquated, and punitive damages;
d. attomey’s fees;

e. the cost of prosecuting this action;

f. and for all other equitable, legal, and just relief.

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Respectfully submitted,

OG)

Austin Porter Jr., Nb. 86145
PORTER LAW FIRM

323 Center Street, Suite 1035
Little Rock, Arkansas 72201
Telephone: 501-244-8200
Facsimile: 501-372-5567
Email: Aporte5640@aol.com

 

Dated: December 17, 2021.

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EEOC Form 181 (11/2020) U.S. Equa EMPLOYMENT OPPORTUNITY COMMISSION
pe
DISMISSAL AND NOTICE OF RIGHTS
To: Lenora Newsome From: Little Rock Ares OFfica
P.O. Box 27 829 Louisiana
Smackover, AR 71762 Suite 200

Little Rock, AR 72294

 

 

[] On behalf of persants) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7/a))
EEOC Charge No. EEOC Representative , Telephone No

Matilda S. Louvring,
493-2021-00222 Investigator (507) 324-5535
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforcag by tha EEOC.

 

 

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

The Respondent employs less than the required number of employees or is not otherwise coverad by tne statutes

ties.

Your charge was not timely filed with EEOC: in other words, you waited too long afer the datefs) of ine ats yea
discrimination to file your charge :

OOO

The EEOC issues the following determination: The EEOC will not proceed further with its investigation. and m
determination about whether further investigation would establish viclations of the stat
have no merit. This determination does not certify that the respondent is in compli

makes no finding as to the merits of any other issues that might be construed as having been raised by

 
   
 

 
  
 
 

The EEOC has adopted the findings of the state or iocal fair employmani practices agency that investig

LL

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached ta this form.)

Title Vi, the Americans with Disabilities Act, the Genstic Information Nondiscrimination Act, or the Age
Discrimination in Empioyment Act: This will be the only notice of dismissa! and of your right to sue thet we
You may file a lawsuit against the respondeni(s) under federal law based on this charge in federal or state c:
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue basad on this che
lost. (The time limit for filing suit based on a claim under state law may be different.)

  

  

Equai Pay Act (EPA): EPA suits mus: De filed in federal or state court within 2 years (3 years for wiFul vi
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2
before you file suit may not be collectible.

On behalf of the Commission

William A. Cash, JE,
Area Office Director

 

Enclasures(s)

 

ae Kim Metrick

VP of Employment Law
WALGREENS EMPLOYMENT LAW
104 WILMOT RD

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Deerfield, IL 60015

  

EXHIBIT

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